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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )         Case No. 8:09CR114
                                                   )
                                  Plaintiff,       )
                                                   )             AMENDED
      vs.                                          )   ORDER ON SENTENCING SCHEDULE
                                                   )
RAYMOND JIMENEZ,                                   )
                                                   )
                                  Defendant.       )

        Pursuant to the Local Rules of Practice (see NECrimR. 32.1(b)), and the sentencing practices
of this court more generally, and to set a schedule and a procedure for sentencing before the
sentencing judge,

       IT IS ORDERED that the motion to continue, filing No. 68, is granted and the following
deadlines and procedures are set in this case:

1.    June 28, 2010: Counsel's respective versions of the offense(s) to the probation office;

2.    July 19, 2010: Financial information, restitution proposal and any chemical
      dependency/mental health evaluation to the probation office by counsel;

3.    August 2, 2010: Initial presentence report to counsel by the probation office. Defense
      counsel will insure that (a) the defendant has had an opportunity to read the initial PSR, or, if
      the defendant is not fluent in English, that an interpreter has read it to the defendant, and (b)
      the defendant has had an opportunity to voice any objections to defense counsel, before
      defense counsel submits objections to the initial PSR;

4.    August 26, 2010: Written objections by counsel to the initial presentence report to the
      probation officer;

5.    September 7, 2010: Probation office's submission to the judge and counsel of initial or
      revised presentence report with changes, if any, responsive to counsels’ objections, and, if
      needed, an addendum explaining the probation officer’s position regarding any objections to
      the presentence report previously submitted by counsel;

6.    September 14, 2010:
           (a) Any proposals to the probation office for community service, community
           confinement, intermittent confinement or home detention;

             (b) Motions to the court:
                   (1) for departure under the guidelines (including, but not limited to, motions by
                   the government) ; and
                   (2) for deviation or variance from the guidelines as allowed by the Supreme
                   Court’s decision in United States v. Booker, 125 S. Ct. 738 (2005) or its progeny;
             (c) Counsel's filing and serving on all other parties and the probation officer a written
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            statement of position respecting each of the unresolved objections to the presentence
            report, including the specific nature of each objection to the presentence report.

            (d) If evidence is to be offered in support of or in opposition to a motion under
            subparagraph (b) of this paragraph or in support of or in opposition to an objection
            under subparagraph (c) of this paragraph 6, it must be: by affidavit, letter, report or other
            document attached to the statement of position or by oral testimony at the sentencing
            hearing. If oral testimony is desired, a request must be made in the statement of
            position and the statement of position must reveal (1) the nature of the expected
            testimony, (2) the necessity for oral testimony, instead of documentary evidence, such
            as affidavits, (3) the identity of each proposed witness, and (4) the length of time
            anticipated for presentation of the direct examination of the witness or witnesses. If a
            request for oral or documentary evidence is made by one party but not by the adverse
            party, the adverse party within five working days thereafter may make a responsive
            request for oral or documentary evidence, setting out details in the same manner as
            required by this paragraph 6(d).

            (e) Objections should be supported by a brief if a substantial issue of law is raised.
            Motions for departure should be supported by a brief that explains why the departure
            from the guideline sentencing range is justified by normal guideline departure theory.
            Motions for deviation or variance from the guidelines as allowed under Booker or its
            progeny should be supported by a brief that explains why a sentence other than that
            called for under the guidelines is justified by a principle of law that is different in kind or
            degree from the normal principles of law applied under a strict application of the
            guidelines.

            (f) It is expected that any objection first raised in a party’s statement of position will be
            addressed at the judge’s discretion, and that no consideration will be given to any
            sentencing factor first raised after the filing of the written statement.

7.   September 21, 2010: Judge's notice to counsel of rulings, tentative findings, and whether oral
     testimony is to be permitted.

8.   The following procedures shall apply to objections to tentative findings:

            (a) A written objection to tentative findings is not required if no evidence will be offered
            in support of the objection to tentative findings and no new substantial issue of law will
            be raised in support of an objection to tentative findings. In such a case, an oral
            objection to the tentative findings may be made at the time of sentencing.

            (b) A written objection to tentative findings is required if evidence will be offered in
            support of the objection to the tentative findings or if a new substantial issue of law is
            raised in support of the objection to the tentative findings. If evidence will be offered in
            support of the written objection to the tentative findings, the written objection shall include a
            statement describing why an evidentiary hearing is required, what evidence will be presented,
            and how long such a hearing would take. If a new substantial issue of law is raised in
            support of the written objection to tentative findings, such an objection shall be
            supported by a brief. Unless the court orders otherwise, a written objection to the
            tentative findings will be resolved at sentencing in such manner as the court deems
            appropriate.
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             (c) Any written objection to tentative findings shall be filed no later than five business
             days prior to the date set for sentencing. If that is not possible due to the lack of time
             between the issuance of tentative findings and the sentencing hearing, the written
             objection shall be filed as soon as possible but not later than one business day prior to
             sentencing.

9.    September 27, 2010 at 1:00 p.m.: Sentencing before Judge Smith Camp.

The probation officer is directed to provide copies of any sentencing recommendation to counsel for
the government and counsel for the defendant at the time the recommendation is submitted to the
sentencing judge.

The dates in paragraphs 3 and 4 of this order may be altered by written notice to counsel and the
judge by the probation office.

      DATED this 12th day of August, 2010.

                                                BY THE COURT:

                                                s/ Laurie Smith Camp
                                                United States District Judge
